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 6   United States of America
 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )   1:11-CR-00299-AWI
                                            )
12                    Plaintiff,            )   PRELIMINARY ORDER OF FORFEITURE
                                            )
13        v.                                )
                                            )
14   EDGAR ALONSO BAUTISTA ARAZATE,         )
                                            )
15                    Defendant.            )
                                            )
16
17        Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Edgar Alonso Bautista Arazate,
19   it is hereby ORDERED, ADJUDGED, AND DECREED as follows:
20        1.   Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
21   2461(c), defendant Edgar Alonso Bautista Arazate’s interest in the
22   following property shall be condemned and forfeited to the United
23   States of America, to be disposed of according to law:
24             a.    Approximately 2,380 CDs, and
               b.    Approximately 780 DVDs.
25
          2.   The above-listed assets represent any property real or
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     personal, that constitutes, or is derived from or is traceable to the
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     proceeds obtained directly or indirectly as a result of            the
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                                                           Preliminary Order of
                                            1              Forfeiture
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 1   commission of a violation of 18 U.S.C. § 371.
 2         3.    Pursuant to Rule 32.2(b), the Attorney General (or a
 3   designee) shall be authorized to seize the above-listed property.
 4   The aforementioned property shall be seized and held by the United
 5   States Marshals Service in their secure custody and control.
 6         4.   a.    Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C.
 7   § 853(n), and Local Rule 171, the United States shall publish notice
 8   of the order of forfeiture.       Notice of this Order and notice of the
 9   Attorney General’s (or a designee’s) intent to dispose of the
10   property in such manner as the Attorney General may direct shall be
11   posted for at least 30 consecutive days on the official internet
12   government forfeiture site www.forfeiture.gov.          The United States may
13   also, to the extent practicable, provide direct written notice to any
14   person known to have alleged an interest in the property that is the
15   subject of the order of forfeiture as a substitute for published
16   notice as to those persons so notified.
17               b.     This notice shall state that any person, other than
18   the defendant, asserting a legal interest in the above-listed
19   property, must file a petition with the Court within sixty (60) days
20   from the first day of publication of the Notice of Forfeiture posted
21   on the official government forfeiture site, or within thirty (30)
22   days from receipt of direct written notice, whichever is earlier.
23         5.    If a petition is timely filed, upon adjudication of all
24   third-party interests, if any, this Court will enter a Final Order of
25   Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
26   ///
27   ///
28   ///



                                                            Preliminary Order of
                                             2              Forfeiture
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 1   2461(c), in which all interests will be addressed.
 2   IT IS SO ORDERED.
 3
     Dated:         May 7, 2012
 4   0m8i78                               CHIEF UNITED STATES DISTRICT JUDGE
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                                                              Preliminary Order of
                                               3              Forfeiture
